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KLESTADT WINTERS JURELLER
SOUTHARD & STEVENS, LLP
Tracy L. Klestadt
Joseph C. Corneau
200 West 41st Street, 17th Floor
New York, NY 10036
Tel. (212) 972-3000
Fax. (212) 972-2245

Attorneys for the Debtors and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                 :
In re:                                           :      Chapter 11
                                                 :
1141 REALTY OWNER LLC, et al.,                   :      Case No. 18- 12341 (SMB)
                                                 :
                                                 :      Jointly Administered
                          Debtor.                :
                                                 :

                      NOTICE OF FILING OF FURTHER REVISED
                     DEBTOR IN POSSESSION LOAN AGREEMENT

         PLEASE TAKE NOTICE, that on July 31, 2018, 1141 Realty Owner LLC and

Flatironhotel Operations LLC (collectively, the “Debtors”) filed the Debtors’ Motion for Entry of

Interim and Final Orders Authorizing the Debtors to Obtain Post-Petition, Priming, Senior

Secured, Superpriority Financing Pursuant to 11 U.S.C. §§ 105, 362, 364(c) and 364(d),

Bankruptcy Rule 4001(c) and Local Rule 4001-2 (the “DIP Financing Motion”) [Docket No. 7]

seeking entry of interim and final orders approving financing pursuant to the Debtor in

Possession Loan Agreement (the “DIP Agreement”) between the Debtors and Premier Flatiron

LLC (the “DIP Lender”) annexed to the DIP Financing Motion as Exhibit C.
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       PLEASE TAKE FURTHER NOTICE, that on August 5, 2018, the Debtors filed a

Notice of Filing of (A) Revised Debtor in Possession Loan Agreement and (B) Revised Proposed

Form of Order Granting DIP Financing Motion (the “Notice of Filing”) [Docket No. 37], to which

a revised form of DIP Agreement was attached as Exhibit A thereto.

       PLEASE TAKE FURTHER NOTICE, that the Debtors and DIP Lender have agreed to

further revise the DIP Agreement.

       PLEASE TAKE FURTHER NOTICE, that annexed hereto as Exhibit A is a further

revised form of Debtor in Possession Loan Agreement (the “Revised DIP Agreement”).

       PLEASE TAKE FURTHER NOTICE, that annexed hereto as Exhibit B is a blackline

comparison reflecting differences between the DIP Agreement attached to the Notice of Filing and

the DIP Agreement annexed hereto as Exhibit A.

Dated: New York, New York
       September 12, 2018
                                                   KLESTADT WINTERS JURELLER
                                                   SOUTHARD & STEVENS, LLP


                                           By: /s/ Tracy L. Klestadt
                                               Tracy L. Klestadt
                                               Joseph C. Corneau
                                               200 West 41st Street, 17th Floor
                                               New York, New York 10036
                                               Tel: (212) 972-3000
                                               Fax: (212) 972-2245
                                               Email: tklestadt@klestadt.com
                                                       jcorneau@klestadt.com




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                                    Exhibit A
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                    DEBTOR IN POSSESSION LOAN AGREEMENT

         THIS DEBTOR IN POSSESSION LOAN AGREEMENT (this “Agreement”), dated
September 12, 2018, is entered into between 1141 Realty Owner, LLC (“Owner”), a limited
liability company organized under the laws of the State of New York, and Flatironhotel
Operations LLC, a limited liability company organized under the laws of the State of New York
(“Operations” and, together with Owner, the “Debtors”), jointly and severally, on one hand, and
Premier Flatiron, LLC, a limited liability company organized under the laws of the State of
New York (“Premier” or, “Lender”), on the other hand.

                                    W I T N E S S E T H:

        WHEREAS, on July 31, 2018 (the “Petition Date”) the Debtors each filed a voluntary
petition for relief under chapter 11 of Title 11 of the United States Code (the “Bankruptcy
Code”) with the United States Bankruptcy Court for the Southern District of New York; and

       WHEREAS, the Debtors have requested that Lender make a DIP Loan (as defined
hereinafter) to the Debtors subject to the terms and conditions set forth herein; and

       WHEREAS, Lender is willing, on the terms and conditions hereinafter set forth, to make
such a DIP Loan.

       NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged and intending to be legally bound hereby, the parties hereto
agree as follows:

SECTION 1. DEFINITIONS.

       1.1      Defined Terms. Certain terms are defined in the text of this Agreement. In
addition, as used in this Agreement, the following terms shall have the following meanings:

      “Agreement” means this Debtor in Possession Loan Agreement, as it may hereafter be
amended, modified, extended, restated or supplemented from time to time.

       “Avoidance Actions” means causes of action of Debtors’ estates arising under sections
544, 545, 547, 548 and 550 of the Bankruptcy Code.

      “Bankruptcy Code” means Title 11 of the United States Code, as may hereafter be
amended from time to time.

      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as may be
amended from time to time.

       “Budget” means the budget annexed to the DIP Order, and any subsequent budget for use
of the proceeds of the DIP Loan that may be agreed upon by the Debtors and the Lender, in
writing.




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        “Business Day” means any day on which banks are required to be open in New York
City.

        “Carve Out” has the meaning given to it in the DIP Order.

       “Chapter 11 Case” means the jointly administered voluntary bankruptcy cases of the
Debtors.

        “Collateral” means all Property securing the DIP Obligations hereunder, including,
without limitation all assets, all real property and all personal property, tangible or intangible,
including without limitation all bank accounts, deposits and cash, wherever located, whether now
existing or hereafter acquired, of the Debtors, and all proceeds (including the proceeds of any
asset sales to third parties), products, rents, revenues and profits of any of the foregoing, all
causes of action (except Avoidance Actions), and such other collateral of any nature as may be
provided as security for the DIP Obligations in the DIP Order or otherwise.

       “Debtor Representative” shall mean the Debtors’ Chief Restructuring Officer, or any
agent of the Debtors designated by the foregoing to act as an “Authorized Representative”
hereunder.

       “Default” means any event specified in Section 6 hereof, whether or not any requirement
in connection with such event for the giving of notice, lapse of time, or happening of any further
condition has been satisfied.

        “Default Rate” has the meaning given such term in Section 3.2(b) hereof.

        “DIP Loan” has the meaning given such term in Section 2.1 hereof.

       “DIP Loan Commitment” means the commitment of the Lender to loan the Debtors an
aggregate principal amount of up to $2,500,000 on a final basis subject to approval of a DIP
Order in form and substance acceptable to the Lender.

        “DIP Loan Documents” means, collectively, this Agreement, the DIP Order, and each
other order of the Court and each other instrument, document or agreement required to be
delivered pursuant to this Agreement or any order of the Court or delivered in connection with
this Agreement, including without limitation any documents or instruments executed or delivered
by any Entity from time to time as security for the DIP Obligations, in each case as amended,
modified, waived, substituted, replaced or extended from time to time.

        “DIP Obligations” means all present and future obligations, indebtedness and liabilities,
and all renewals and extensions of all or any part thereof, of the Debtors to Lender arising from,
by virtue of, or pursuant to this Agreement, any DIP Loan Documents, and any and all renewals
and extensions thereof or any part thereof, or future amendments thereto, all interest accruing on
all or any part thereof and the reasonable attorneys’ fees incurred by Lender for the negotiation
and preparation of this Agreement and consummation of the same, execution of waivers,
amendments and consents, and in connection with the enforcement or the collection of all or any
part thereof, and reasonable attorneys’ fees incurred by Lender in connection with the
enforcement or the collection of all or any part of the DIP Obligations during the continuance of


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a Default, in each case whether such obligations, indebtedness and liabilities are direct, indirect,
fixed, contingent, joint, several or joint and several.

       “Entity” means an individual, partnership, limited liability company, joint venture,
corporation, trust, Governmental Unit, unincorporated organization, and government, or any
department, agency, or political subdivision thereof.

       “DIP Order” means the order entered by the Court upon sufficient notice as required by
Bankruptcy Rule 4001, in form and substance satisfactory to Lender, in its sole discretion,
approving the DIP Loan and the DIP Loan Documents.

         “Final Order” means an order, ruling or judgment of a court of competent jurisdiction
(a) that is in full force and effect, (b) that is not stayed, (c) as to which the time to appeal, petition
for certiorari, or move for reargument or rehearing has expired, and no appeal, petition for
certiorari, or other proceedings for reargument or rehearing shall then be pending, and (d) is no
longer subject to review, reversal, modification or amendment by appeal or writ of certiorari;
provided, however, that an order will be deemed a Final Order notwithstanding the filing of a
motion under Rule 59 or Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule
under the Bankruptcy Rules.

        “GAAP” means generally accepted accounting principles applied on a consistent basis.

       “Governmental Unit” means any state, commonwealth, federal, foreign, territorial, or
other court or government body, subdivision, agency, department, commission, board, bureau, or
instrumentality of a governmental body.

        “Highest Lawful Rate” means, at the particular time in question, the maximum rate of
interest which, under applicable law, Lender is then permitted to charge on the DIP Obligations.
If the maximum rate of interest which, under applicable law, Lender is permitted to charge on the
DIP Obligations shall change after the date hereof, the Highest Lawful Rate shall be increased or
decreased automatically, as the case may be, from time to time as of the effective time of each
change in the Highest Lawful Rate without notice to the Debtors.

        “Law” means any constitution, statute, law, ordinance, regulation, rule, order, writ,
injunction, or decree of any Governmental Unit.

        “License” means any license, permit, consent, certificate of need, authorization,
certification, accreditation, franchise, approval, or grant of rights by, or any filing or registration
with, any Governmental Unit or other Entity necessary for such Entity to own, build, maintain,
or operate its business or Property.

        “Lien” means any properly filed and perfected mortgage, pledge, security interest,
encumbrance, lien, or charge of any kind, including without limitation any agreement to give or
not to give any of the foregoing, any conditional sale or other title retention agreement, any lease
in the nature thereof, and the filing of or agreement to give any financing statement or other
similar form of public notice under the Laws of any jurisdiction (except for the filing of a
financing statement or notice in connection with an operating lease).



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       “Litigation” means any proceeding, claim, lawsuit, arbitration, and/or investigation
conducted by or before any Governmental Unit or arbitrator, including without limitation
proceedings, claims, lawsuits, and/or investigations under or pursuant to any environmental,
occupational, safety and health, antitrust, unfair competition, securities, Tax, or other Law, or
under or pursuant to any contract, agreement, or other instrument.

       “Material Adverse Change” means any circumstance or event that, by itself or aggregated
together with all other events or circumstances, is or would reasonably be expected to materially
and adversely affect the validity or enforceability of or any rights of Lender under the DIP Loan
Documents, or the DIP Order.

       “Permitted Liens” means:

       (a)     any Lien in favor of Lender pursuant to the DIP Loan Documents, or the DIP
Order to secure the DIP Obligations hereunder;

       (b)     Liens existing on the Petition Date or any replacement liens;

       (c)     Liens on (i) real estate for real estate Taxes not yet delinquent and (ii) Liens for
Taxes, assessments, governmental charges, levies or claims that are being diligently contested in
good faith by appropriate proceedings and for which adequate reserves shall have been set aside
on the Debtors’ books, but only so long as no foreclosure, restraint, sale or similar proceedings
have been commenced with respect thereto;

        (d)     Liens of carriers, warehousemen, mechanics, laborers and materialmen and other
similar Liens incurred in the ordinary course of business for sums not yet due or being contested
in good faith, if such reserve or appropriate provision, if any, as shall be required by GAAP shall
have been made therefore; and

       (e)    Liens incurred in the ordinary course of business after the Petition Date in
connection with worker’s compensation, unemployment insurance or similar legislation.

        “Permitted Weekly Variance” shall mean a weekly variance of up to ten percent (10%)
with respect to any one line item of the Budget, provided that the overall weekly disbursements
do not exceed one hundred five percent (110%) of the budgeted expenses of the Debtors, as
reflected in the Budget.

      “Property” means all types of real, personal, tangible, intangible, or mixed property,
whether owned or hereafter acquired in fee simple or leased by the Debtor.

        “Schedules” means the Schedules of Assets and Liabilities and Statement of Financial
Affairs filed by each Debtor in their respective chapter 11 cases on the Petition Date.

       “Superpriority Claims” means any debt or other claim arising out of credit obtained or
debt incurred by the Debtors having priority in accordance with the provisions of Section
364(c)(1) of the Bankruptcy Code over any or all administrative expenses of the kind specified in
Section 503(b) or 507(b) of the Bankruptcy Code.



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       “Tax” or “Taxes” means all taxes, assessments, imposts, fees, or other charges at any
time imposed by any Laws or Governmental Unit.

       “Tax Code” means the Internal Revenue Code of 1986, as amended.

        “UCC” means the Uniform Commercial Code as adopted in the State of New York as of
the date of this Agreement.

       “U.S. Trustee” means the United States Trustee for Region 2.

       1.2     Other Definitional Provisions.

       (a)    Unless otherwise specified therein, all terms defined in this Agreement shall have
the defined meanings when used in any other DIP Loan Document or any certificate or other
document made or delivered pursuant hereto.

        (b)   As used herein, in any other DIP Loan Document and in any certificate or other
document made or delivered pursuant hereto, accounting terms relating to the Debtor not defined
herein, and accounting terms partly defined herein to the extent not defined, shall have the
respective meanings given to them under GAAP.

       (c)     The words “hereof”, “herein” and “hereunder” and words of similar import when
used in this Agreement shall refer to this Agreement as a whole and not to any particular
provision of this Agreement, and Section, subsection, schedule and exhibit references are to this
Agreement unless otherwise specified.

       (d)     The meanings given to terms defined herein shall be equally applicable to the
singular and plural forms of such terms.

SECTION 2. DIP LOAN.

        2.1     DIP Loan Commitment. Subject to and in accordance with the terms and
conditions of this Agreement, including, without limitation, the entry of a DIP Order that is
satisfactory to Lender, in its sole discretion, Lender shall make advances to the Debtors up to the
maximum principal amount of the DIP Loan Commitment (the “DIP Loan”).

       2.2     Term. The Term of the DIP Loan Commitment shall be from the Petition Date
through December 31, 2018 (the “Term”). Upon the expiration of the Term, unless otherwise
extended by Lender, in its sole discretion, all amounts due and owing under the DIP Loan,
including interest and fees, shall immediately become due and owing to Lender.

        2.3     Advances. Provided that no Default shall have occurred and no circumstances
exist that, with the giving of notice and/or the passage of time, would constitute a Default,
advances under the DIP Loan shall be made if and when requested in writing on behalf of the
Debtors by a Debtor Representative in order to meet the Debtors’ cash needs as set forth in the
Budget. The Debtor Representative will be required to make any requests for advances from the
Lender in writing by 12:00 noon on the Friday preceding the week during which such advances
are required in accordance with the Budget and the Debtors’ cash position.


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       2.4    Use of Proceeds. The proceeds of the DIP Loan shall be used by the Debtors for
the sole purpose of financing expenditures in accordance with the Budget, subject to the
Permitted Weekly Variance.

        2.5     Collateral. As provided in the DIP Order, all indebtedness, including DIP
Obligations under this Agreement and the DIP Loan Documents shall be secured by
automatically perfected security interests and Liens granted pursuant to Section 364(c)(2) and
(c)(3) of the Bankruptcy Code.

        2.6     Monthly Interest Payments. The Debtor shall pay monthly interest payments to
the Lender in accordance with the terms of this DIP Loan, as computed in accordance with
Section 3.2 of this Agreement. Monthly interest payments shall automatically accrue and be
capitalized to the principal amount of the DIP Obligations, and shall thereafter be deemed to be a
part of the principal amount of the DIP Obligations.

       2.7     Prepayment. The unpaid principal amount of the DIP Loan, together with any
and all accrued interest thereon through the date of prepayment, may be voluntarily paid or
prepaid, in whole or in part, without premium or penalty.

        2.8    DIP Order. For the avoidance of doubt and without waiving any discretion or
other rights reserved to the Lender in this Agreement, unless otherwise consented to by the
Lender through written authorization, the DIP Order, if any, will not be acceptable to the Lender
and no DIP Loan shall be funded by the Lender, unless the same contains, inter alia, the
following provisions:

      (a)     A valid, perfected lien on all of the Collateral shall be granted to Lender to secure
repayment of the DIP Loan as contemplated by Section 2.4 hereof;

      (b)     A Superpriority Claim shall be granted to the Lender against each Debtor in an
amount no less than the DIP Obligations; and

         (c)    It shall be an Event of Default under the DIP Order, if any, if the Debtors shall
fail to secure the entry of orders of the Bankruptcy Court, in form and substance acceptable to
Lender:

               (i)      approving a disclosure statement for the Debtors’ joint plan of
                        reorganization, on or before November 20, 2018; and

               (ii)     confirming a joint plan of reorganization of the Debtors, on or before
                        December 31, 2018.

SECTION 3. GENERAL PROVISIONS APPLICABLE TO DIP LOAN.

       3.1    No Note. This Agreement, the DIP Loan Documents, and the DIP Order fully
evidence and memorialize the DIP Obligations, and no other instrument is required to evidence
such DIP Obligations.

       3.2     Interest Rates.


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        (a)      Interest Rate. Subject to Section 3.2.(b) hereof, the DIP Loan shall bear interest at
a rate of three (3%) percent per annum.

       (b)     Default Rate. Upon the occurrence and during the continuance of a Default, and
provided that Lender shall have provided a Notice of Default as provided in Section 6.2 and any
applicable cure period has expired, the DIP Loan and all other amounts unpaid and outstanding
under this Agreement shall bear interest at a rate equal to twelve (12%) percent per annum (the
“Default Rate”).

       (c)     Computation of Interest. Interest on the Advances shall be computed on the basis
of a year of 365 days and the actual days elapsed (including the first day but excluding the last
day) occurring in the period for which such interest is payable, unless such calculation would
exceed the Highest Lawful Rate, in which case interest shall be calculated on the per annum.

       3.3     Collateral.

        (a)      Grant of Security Interest. The Debtors each hereby grant to Lender a security
interest in all of their respective Collateral as security for the full and prompt payment in cash
and performance of the DIP Obligations.

        (b)      Perfection; Duty of Care. Until all the DIP Obligations have been paid and
performed in full, the Debtors shall take all actions reasonably requested by Lender or otherwise
required to perfect, maintain and protect Lender’s security interest in the Collateral, including
delivering to Lender all Collateral in which Lender’s security interest may be perfected by
possession together with such endorsements as Lender may request. The Debtors shall pay when
due all Tax assessments and other charges imposed upon or with respect to the Collateral or any
part thereof, first arising after the Petition Date, unless such assessments and charges are subject
to a good faith contest adequately reserved for by the Debtors. If the Debtors shall fail to pay
such amounts, upon prior written notice to the Debtors, Lender may do so and add the amount of
such payment to the principal owed under the DIP Loan. Upon prior written notice to the
Debtors, Lender may discharge any Lien that is not a Permitted Lien, pay for any insurance, or
take any other action the Debtors are required to take pursuant to this Agreement but have not
taken, and add the amount of such payment to the principal owed under the DIP Loan.

SECTION 4. AFFIRMATIVE COVENANTS.

       The Debtors hereby agree that, so long as any portion of the DIP Loan or other DIP
Obligation remains outstanding and unpaid or any other amount is owing to Lender hereunder,
the Debtors shall:

       4.1     Payment of Post-Petition Obligations. Pay, discharge or otherwise satisfy all
post-Petition Date obligations and liabilities as required pursuant to the Bankruptcy Code or by
order of the Court.

       4.2     Insurance.

        (a)     Maintain with financially sound and reputable insurance companies insurance on
all Collateral in at least such amounts and with only such deductibles as are usually maintained,


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and against at least such risks as are usually insured against in the same general area, by
companies engaged in the same or a similar business; and furnish to Lender, at their request, full
information as to the insurance carried.

        (b)    Lender shall be named as an additional insured and as its interests may appear on
all insurance maintained by the Debtors pursuant to Section 4.2(a) hereof.

        4.3    Books and Records. Keep proper books of record and account in which complete
and correct entries are made of all dealings and transactions in relation to the Debtors’ business
and activities and which permit financial statements to be prepared in conformity with GAAP
and all applicable Laws.

        4.4    Cash Accounts. Deposit and maintain all proceeds of the DIP Loan in only such
accounts permitted by the Court’s order approving the Debtors’ use after the Petition Date of its
existing bank accounts and cash management system.

        4.5    Visits and Inspections. Promptly permit representatives of Lender, upon prior
written notice to the Debtors, from time to time during normal business hours to (a) visit and
inspect any Property of the Debtors as often as Lender shall reasonably deem advisable, (b) make
such inspections of, abstracts from and copies of the Debtors’ books and records as Lender shall
deem advisable, and (c) discuss with the Debtors’ members, officers and the auditors of the
Debtors, the Debtors’ business, operations, assets, liabilities, financial positions, results of
operations and business prospects as often as Lender shall deem advisable.

        4.6     Use of Proceeds. Use the proceeds of the DIP Loan solely in accordance with the
Budget (as applicable) subject to the Permitted Variance and upon the terms and conditions set
forth in this Agreement, including without limitation Section 2.3 hereof.

       4.7    Compliance with Law. Comply in all material respects with all requirements of
law applicable to the Property (including but not limited to requirements relating to the
environment or hazardous or toxic substances) and the Bankruptcy Code.

SECTION 5. NEGATIVE COVENANTS.

       The Debtors hereby agree that each shall not, directly or indirectly so long as the DIP
Loan or any of the DIP Obligations remain outstanding and unpaid, or any other amount is
owing to Lender hereunder (it being understood that each of the permitted exceptions to each of
the covenants in this Section 5 is in addition to, and not overlapping with, any other of such
permitted exceptions except to the extent expressly provided):

       5.1     Debt. Create, incur, assume or suffer to exist any debt, except:

       (a)     Debt in existence on the date of this Agreement;

       (b)     the DIP Loan and this Agreement; and




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       (c)    Debt incurred by the Debtors within the Budget, subject to the Permitted Weekly
Variance, in the ordinary course of business in the form of accounts payable and accrued
expenses.

       5.2     Limitation on Liens. Create, incur, assume or suffer to exist any Lien upon any of
its property, assets, income or profits, whether now owned or hereafter acquired, except
Permitted Liens and the Carve Out.

        5.3    Use of Proceeds. Use the proceeds of the DIP Loan for any purpose not set forth
in each respective Budget or in Section 2.3 hereof, subject to the Permitted Weekly Variance.

        5.4   DIP Financing. Incur, or apply to the Court for authority to incur, or suffer to
exist, any (i) indebtedness having the priority afforded by Section 364(c) or (d) of the
Bankruptcy Code (including any Superpriority Claims) other than the financing provided for
under this Agreement and the other DIP Loan Documents or (ii) obligation to make adequate
protection payments, or otherwise provide adequate protection, other than as contemplated by the
DIP Order or in the Budget, or as may be required by order of the Court in connection with the
provision of adequate protection to holders of Permitted Liens whose collateral is sold or
otherwise disposed of or as to which Lender consents.

        5.5     Alteration of Rights of Lender. Limit, affect or modify, or apply to the Court to
limit, affect or modify, any of Lender’s rights with respect to the DIP Obligations, including
rights with respect to the Collateral and the priority thereof, except with the prior written consent
of Lender.

        5.6     Chapter 11 Claims. Except as permitted under the DIP Order, apply to the Court
for the authority to incur, create, assume, suffer or permit any claim, Lien or encumbrance (other
than Permitted Liens and the Carve Out) against the Debtors, or any of their assets in the Chapter
11 Case to be pari passu with, or senior to, the Liens and claims of Lender granted and arising
under the DIP Loan Documents.

      5.7     Superpriority Administrative Expense. Create or permit to exist any Superpriority
Claims (other than with respect to this Agreement or the DIP Order and other than the Carve
Out).

       5.8     Alterations. Undertake any alterations or modifications to the Property without
Lender’s prior written consent.

       5.9     Transfers. Transfer, directly or indirectly, any of its right, title or interest in, to or
under any of the Collateral without the Lender’s prior written consent.

SECTION 6. DEFAULT.

        6.1     Default. In addition to the Events of Default under the DIP Order, the following
shall constitute a Default:

      (a)     The Debtors shall fail to pay any principal or interest of the DIP Loan or any other
DIP Obligation (including any fees or reimbursable amounts) when any such amount becomes


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due in accordance with the terms hereof, which failure continues for a period of five (5) Business
Days after notice thereof from Lender; or

       (b)    The Debtors shall default in the observance or performance of any covenant,
agreement, obligation or restriction set forth in this Agreement or any other DIP Loan Document,
and such Default shall continue for a period of ten (10) Business Days after notice thereof from
Lender; or

       (c)     The Court shall enter an order with respect to the Debtors dismissing the Chapter
11 Case or converting it to a case under chapter 7 of the Bankruptcy Code, or, without the prior
written consent of Lender (i) appointing a trustee in the Chapter 11 Case or (ii) appointing a
responsible officer or an examiner with enlarged powers relating to the operation of the Debtors’
business (beyond those set forth in Section 1106(a)(3) or (4)) under Bankruptcy Code Section
1106(b); or

       (d)     The Debtor shall fail to comply with the terms of the DIP Order; or

      (e)      There occurs any Material Adverse Change, including without limitation, any
impairment to the value of Collateral which Lender, in good faith, deems will threaten timely
payment in full of the DIP Loan; or

       (f)    The Court grants any superpriority administrative expense claim or Lien or enters
any order granting relief from the automatic stay (if not in favor of Lender) on any assets of the
Debtors which have an aggregate value in excess of $250,000, except with the express written
consent of Lender.

        (g)     The Debtors shall assume or reject any unexpired lease or executory contract
relating to the Property without the prior written consent of the Lender.

        6.2     Notice of Default and Certain Remedies. If any Default shall occur, Lender may
provide written notice (a “Notice of Default”) to the Debtors and counsel for the official
committee of unsecured creditors, if any, and the U.S. Trustee of such Default. If a Default shall
have occurred and Lender shall have provided a Notice of Default, then, upon expiration of any
applicable cure period, so long as any such Default shall be continuing, any of the actions set
forth in the next sentence may be taken upon written notice by Lender to the Debtors, the U.S.
Trustee, and to the official committee of unsecured creditors of the Debtors, if any. Lender may
(A) without further order of the Court, declare the DIP Loan Commitment reduced to zero
whereupon the DIP Loan Commitment and all obligations of Lender relating thereto shall be
immediately terminated, (B) without further order of the Court, declare all or a portion of the
DIP Loan (with accrued interest thereon) and all other amounts owing under this Agreement to
be due and payable forthwith, whereupon the same shall immediately become due and payable,
without further notice, demand, presentment, notice of dishonor, notice of acceleration, notice of
intent to accelerate, protest, or other formalities of any kind, all of which are hereby expressly
waived by the Debtors, (C) foreclose or otherwise enforce any Lien granted to Lender for the
benefit of itself to secure payment and performance of the DIP Obligations in accordance with
the terms of the DIP Loan Documents, and (D) exercise all other rights and remedies available at
law or in equity. Except as expressly provided above in this Section 6, presentment, notice,


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notice of dishonor, notice of acceleration, notice of intent to accelerate, demand, protest and all
other notices of any kind are hereby expressly waived.

SECTION 7. MISCELLANEOUS.

      7.1     Amendments and Waivers. No DIP Loan Document nor any terms thereof may
be amended, supplemented or modified except in writing signed by Lender and Debtor.

        7.2    Notices. All notices, requests and demands to or upon the respective parties
hereto to be effective shall be in writing, and, unless otherwise expressly provided herein, shall
be deemed to have been duly given or made when delivered by hand, or three Business Days
after being deposited in the mail, postage prepaid, or one Business Day after being entrusted to a
reputable commercial overnight delivery service, or, in the case of electronic mail notice, when
sent, addressed as follows in the case of the Debtors and Lender or to such other address as may
be hereafter notified by such respective parties hereto:

The Debtors:

                 1141 Realty Owner, LLC
                 Flatironhotel Operations, LLC
                 1141 Broadway
                 New York, New York 10001
                 Attention: Chief Restructuring Officer

With a copy to

                 Klestadt Winters Jureller
                 Southard & Stevens, LLP
                 292 Madison Avenue, 17th Fl.
                 New York, NY 10017
                 Attn: Tracy L. Klestadt
                       Joseph Corneau

Lender:

                 Premier Flatiron, LLC
                 c/o Mermel Associates PLLC
                 One Hollow Lane, Suite 303
                 Lake Success, New York 11042
                 Attn: Uzi Ben Abraham

With a copy to

                 SilvermanAcampora LLP
                 100 Jericho Quadrangle, Suite 300
                 Jericho, New York 11753
                 Attn: Kenneth P. Silverman
                       Brian Powers

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        7.3    No Waiver; Cumulative Remedies. No failure to exercise and no delay in
exercising, on the part of Lender, any right, remedy, power or privilege hereunder shall operate
as a waiver thereof; nor shall any single or partial exercise of any right, remedy, power or
privilege hereunder preclude any other or further exercise thereof or the exercise of any other
right, remedy, power or privilege. The rights, remedies, powers and privileges herein provided
are cumulative and not exclusive of any rights, remedies, powers and privileges provided by
Law.

        7.4   Survival of Representations and Warranties. All representations and warranties
made hereunder and in any document, certificate or statement delivered pursuant hereto or in
connection herewith shall survive the execution and delivery of this Agreement and the making
of the DIP Loan.

       7.5      Counterparts. This Agreement may be executed by one or more of the parties to
this Agreement on any number of separate counterparts and all of said counterparts taken
together shall be deemed to constitute one and the same instrument.

       7.6     Additional Grant of Lien. All DIP Obligations, contingent or absolute (including,
without limitation, the principal thereof, interest thereon, and any costs and expenses owing in
connection therewith) which may now or from time to time hereafter be owing by the Debtors to
Lender under any of the DIP Loan Documents shall be secured as set forth in the DIP Order.

       IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
executed and delivered by their proper and duly authorized officers as of the day and year first
above written.

[The remainder of this page is intentionally left blank.]




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DEBTORS

1141 REALTY OWNER, LLC,


____________________________________
By:______________________
Title:_____________________

FLATIRONHOTEL OPERATIONS, LLC,


____________________________________
By:______________________
Title:_____________________


LENDER

PREMIER FLATIRON LLC,


____________________________________
By:______________________
Title:_____________________




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                    DEBTOR IN POSSESSION LOAN AGREEMENT

         THIS DEBTOR IN POSSESSION LOAN AGREEMENT (this “Agreement”), dated
September 6, 2018, is entered into between 1141 Realty Owner, LLC (“Owner”), a limited
liability company organized under the laws of the State of New York, and Flatironhotel
Operations LLC, a limited liability company organized under the laws of the State of New York
(“Operations” and, together with Owner, the “Debtors”), jointly and severally, on one hand, and
Premier Flatiron, LLC, a limited liability company organized under the laws of the State of
New York (“Premier” or, “Lender”), on the other hand.

                                    W I T N E S S E T H:

        WHEREAS, on July 31, 2018 (the “Petition Date”) the Debtors each filed a voluntary
petition for relief under chapter 11 of Title 11 of the United States Code (the “Bankruptcy
Code”) with the United States Bankruptcy Court for the Southern District of New York; and

       WHEREAS, the Debtors have requested that Lender make a DIP Loan (as defined
hereinafter) to the Debtors subject to the terms and conditions set forth herein; and

       WHEREAS, Lender is willing, on the terms and conditions hereinafter set forth, to make
such a DIP Loan.

       NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged and intending to be legally bound hereby, the parties hereto
agree as follows:

SECTION 1. DEFINITIONS.

       1.1      Defined Terms. Certain terms are defined in the text of this Agreement. In
addition, as used in this Agreement, the following terms shall have the following meanings:

      “Agreement” means this Debtor in Possession Loan Agreement, as it may hereafter be
amended, modified, extended, restated or supplemented from time to time.

       “Avoidance Actions” means causes of action of Debtors’ estates arising under sections
544, 545, 547, 548 and 550 of the Bankruptcy Code.

      “Bankruptcy Code” means Title 11 of the United States Code, as may hereafter be
amended from time to time.

      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as may be
amended from time to time.

       “Budget” means the budget annexed to the DIP Order, and any subsequent budget for use
of the proceeds of the DIP Loan that may be agreed upon by the Debtors and the Lender, in
writing.




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        “Business Day” means any day on which banks are required to be open in New York
City.

        “Carve Out” has the meaning given to it in the DIP Order.

       “Chapter 11 Case” means the jointly administered voluntary bankruptcy cases of the
Debtors.

        “Collateral” means all Property securing the DIP Obligations hereunder, including,
without limitation all assets, all real property and all personal property, tangible or intangible,
including without limitation all bank accounts, deposits and cash, wherever located, whether now
existing or hereafter acquired, of the Debtors, and all proceeds (including the proceeds of any
asset sales to third parties), products, rents, revenues and profits of any of the foregoing, all
causes of action (except Avoidance Actions), and such other collateral of any nature as may be
provided as security for the DIP Obligations in the DIP Order or otherwise.

       “Debtor Representative” shall mean the Debtors’ Chief Restructuring Officer, or any
agent of the Debtors designated by the foregoing to act as an “Authorized Representative”
hereunder.

       “Default” means any event specified in Section 6 hereof, whether or not any requirement
in connection with such event for the giving of notice, lapse of time, or happening of any further
condition has been satisfied.

        “Default Rate” has the meaning given such term in Section 3.2(b) hereof.

        “DIP Loan” has the meaning given such term in Section 2.1 hereof.

       “DIP Loan Commitment” means the commitment of the Lender to loan the Debtors an
aggregate principal amount of up to $2,500,000 on a final basis subject to approval of a DIP
Order in form and substance acceptable to the Lender.

        “DIP Loan Documents” means, collectively, this Agreement, the DIP Order, and each
other order of the Court and each other instrument, document or agreement required to be
delivered pursuant to this Agreement or any order of the Court or delivered in connection with
this Agreement, including without limitation any documents or instruments executed or delivered
by any Entity from time to time as security for the DIP Obligations, in each case as amended,
modified, waived, substituted, replaced or extended from time to time.

        “DIP Obligations” means all present and future obligations, indebtedness and liabilities,
and all renewals and extensions of all or any part thereof, of the Debtors to Lender arising from,
by virtue of, or pursuant to this Agreement, any DIP Loan Documents, and any and all renewals
and extensions thereof or any part thereof, or future amendments thereto, all interest accruing on
all or any part thereof and the reasonable attorneys’ fees incurred by Lender for the negotiation
and preparation of this Agreement and consummation of the same, execution of waivers,
amendments and consents, and in connection with the enforcement or the collection of all or any
part thereof, and reasonable attorneys’ fees incurred by Lender in connection with the
enforcement or the collection of all or any part of the DIP Obligations during the continuance of


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a Default, in each case whether such obligations, indebtedness and liabilities are direct, indirect,
fixed, contingent, joint, several or joint and several.

       “Entity” means an individual, partnership, limited liability company, joint venture,
corporation, trust, Governmental Unit, unincorporated organization, and government, or any
department, agency, or political subdivision thereof.

       “DIP Order” means the order entered by the Court upon sufficient notice as required by
Bankruptcy Rule 4001, in form and substance satisfactory to Lender, in its sole discretion,
approving the DIP Loan and the DIP Loan Documents.

         “Final Order” means an order, ruling or judgment of a court of competent jurisdiction
(a) that is in full force and effect, (b) that is not stayed, (c) as to which the time to appeal, petition
for certiorari, or move for reargument or rehearing has expired, and no appeal, petition for
certiorari, or other proceedings for reargument or rehearing shall then be pending, and (d) is no
longer subject to review, reversal, modification or amendment by appeal or writ of certiorari;
provided, however, that an order will be deemed a Final Order notwithstanding the filing of a
motion under Rule 59 or Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule
under the Bankruptcy Rules.

        “GAAP” means generally accepted accounting principles applied on a consistent basis.

       “Governmental Unit” means any state, commonwealth, federal, foreign, territorial, or
other court or government body, subdivision, agency, department, commission, board, bureau, or
instrumentality of a governmental body.

        “Highest Lawful Rate” means, at the particular time in question, the maximum rate of
interest which, under applicable law, Lender is then permitted to charge on the DIP Obligations.
If the maximum rate of interest which, under applicable law, Lender is permitted to charge on the
DIP Obligations shall change after the date hereof, the Highest Lawful Rate shall be increased or
decreased automatically, as the case may be, from time to time as of the effective time of each
change in the Highest Lawful Rate without notice to the Debtors.

        “Law” means any constitution, statute, law, ordinance, regulation, rule, order, writ,
injunction, or decree of any Governmental Unit.

        “License” means any license, permit, consent, certificate of need, authorization,
certification, accreditation, franchise, approval, or grant of rights by, or any filing or registration
with, any Governmental Unit or other Entity necessary for such Entity to own, build, maintain,
or operate its business or Property.

        “Lien” means any properly filed and perfected mortgage, pledge, security interest,
encumbrance, lien, or charge of any kind, including without limitation any agreement to give or
not to give any of the foregoing, any conditional sale or other title retention agreement, any lease
in the nature thereof, and the filing of or agreement to give any financing statement or other
similar form of public notice under the Laws of any jurisdiction (except for the filing of a
financing statement or notice in connection with an operating lease).



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       “Litigation” means any proceeding, claim, lawsuit, arbitration, and/or investigation
conducted by or before any Governmental Unit or arbitrator, including without limitation
proceedings, claims, lawsuits, and/or investigations under or pursuant to any environmental,
occupational, safety and health, antitrust, unfair competition, securities, Tax, or other Law, or
under or pursuant to any contract, agreement, or other instrument.

       “Material Adverse Change” means any circumstance or event that, by itself or aggregated
together with all other events or circumstances, is or would reasonably be expected to materially
and adversely affect the validity or enforceability of or any rights of Lender under the DIP Loan
Documents, or the DIP Order.

       “Permitted Liens” means:

       (a)     any Lien in favor of Lender pursuant to the DIP Loan Documents, or the DIP
Order to secure the DIP Obligations hereunder;

       (b)     Liens existing on the Petition Date or any replacement liens;

       (c)     Liens on (i) real estate for real estate Taxes not yet delinquent and (ii) Liens for
Taxes, assessments, governmental charges, levies or claims that are being diligently contested in
good faith by appropriate proceedings and for which adequate reserves shall have been set aside
on the Debtors’ books, but only so long as no foreclosure, restraint, sale or similar proceedings
have been commenced with respect thereto;

        (d)     Liens of carriers, warehousemen, mechanics, laborers and materialmen and other
similar Liens incurred in the ordinary course of business for sums not yet due or being contested
in good faith, if such reserve or appropriate provision, if any, as shall be required by GAAP shall
have been made therefore; and

       (e)    Liens incurred in the ordinary course of business after the Petition Date in
connection with worker’s compensation, unemployment insurance or similar legislation.

        “Permitted Weekly Variance” shall mean a weekly variance of up to ten percent (10%)
with respect to any one line item of the Budget, provided that the overall weekly disbursements
do not exceed one hundred five percent (110%) of the budgeted expenses of the Debtors, as
reflected in the Budget.

      “Property” means all types of real, personal, tangible, intangible, or mixed property,
whether owned or hereafter acquired in fee simple or leased by the Debtor.

        “Schedules” means the Schedules of Assets and Liabilities and Statement of Financial
Affairs filed by each Debtor in their respective chapter 11 cases on the Petition Date.

       “Superpriority Claims” means any debt or other claim arising out of credit obtained or
debt incurred by the Debtors having priority in accordance with the provisions of Section
364(c)(1) of the Bankruptcy Code over any or all administrative expenses of the kind specified in
Section 503(b) or 507(b) of the Bankruptcy Code.



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       “Tax” or “Taxes” means all taxes, assessments, imposts, fees, or other charges at any
time imposed by any Laws or Governmental Unit.

       “Tax Code” means the Internal Revenue Code of 1986, as amended.

        “UCC” means the Uniform Commercial Code as adopted in the State of New York as of
the date of this Agreement.

       “U.S. Trustee” means the United States Trustee for Region 2.

       1.2     Other Definitional Provisions.

       (a)    Unless otherwise specified therein, all terms defined in this Agreement shall have
the defined meanings when used in any other DIP Loan Document or any certificate or other
document made or delivered pursuant hereto.

        (b)   As used herein, in any other DIP Loan Document and in any certificate or other
document made or delivered pursuant hereto, accounting terms relating to the Debtor not defined
herein, and accounting terms partly defined herein to the extent not defined, shall have the
respective meanings given to them under GAAP.

       (c)     The words “hereof”, “herein” and “hereunder” and words of similar import when
used in this Agreement shall refer to this Agreement as a whole and not to any particular
provision of this Agreement, and Section, subsection, schedule and exhibit references are to this
Agreement unless otherwise specified.

       (d)     The meanings given to terms defined herein shall be equally applicable to the
singular and plural forms of such terms.

SECTION 2. DIP LOAN.

        2.1     DIP Loan Commitment. Subject to and in accordance with the terms and
conditions of this Agreement, including, without limitation, the entry of a DIP Order that is
satisfactory to Lender, in its sole discretion, Lender shall make advances to the Debtors up to the
maximum principal amount of the DIP Loan Commitment (the “DIP Loan”).

       2.2     Term. The Term of the DIP Loan Commitment shall be from the Petition Date
through December 31, 2018 (the “Term”). Upon the expiration of the Term, unless otherwise
extended by Lender, in its sole discretion, all amounts due and owing under the DIP Loan,
including interest and fees, shall immediately become due and owing to Lender.

        2.3     Advances. Provided that no Default shall have occurred and no circumstances
exist that, with the giving of notice and/or the passage of time, would constitute a Default,
advances under the DIP Loan shall be made if and when requested in writing on behalf of the
Debtors by a Debtor Representative in order to meet the Debtors’ cash needs as set forth in the
Budget. The Debtor Representative will be required to make any requests for advances from the
Lender in writing by 12:00 noon on the Friday preceding the week during which such advances
are required in accordance with the Budget and the Debtors’ cash position.


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       2.4    Use of Proceeds. The proceeds of the DIP Loan shall be used by the Debtors for
the sole purpose of financing expenditures in accordance with the Budget, subject to the
Permitted Weekly Variance.

        2.5     Collateral. As provided in the DIP Order, all indebtedness, including DIP
Obligations under this Agreement and the DIP Loan Documents shall be secured by
automatically perfected security interests and Liens granted pursuant to Section 364(c)(2) and
(c)(3) of the Bankruptcy Code.

        2.6     Monthly Interest Payments. The Debtor shall pay monthly interest payments to
the Lender in accordance with the terms of this DIP Loan, as computed in accordance with
Section 3.2 of this Agreement. Monthly interest payments shall automatically accrue and be
capitalized to the principal amount of the DIP Obligations, and shall thereafter be deemed to be a
part of the principal amount of the DIP Obligations.

       2.7     Prepayment. The unpaid principal amount of the DIP Loan, together with any
and all accrued interest thereon through the date of prepayment, may be voluntarily paid or
prepaid, in whole or in part, without premium or penalty.

        2.8    DIP Order. For the avoidance of doubt and without waiving any discretion or
other rights reserved to the Lender in this Agreement, unless otherwise consented to by the
Lender through written authorization, the DIP Order, if any, will not be acceptable to the Lender
and no DIP Loan shall be funded by the Lender, unless the same contains, inter alia, the
following provisions:

      (a)     A valid, perfected lien on all of the Collateral shall be granted to Lender to secure
repayment of the DIP Loan as contemplated by Section 2.4 hereof;

      (b)     A Superpriority Claim shall be granted to the Lender against each Debtor in an
amount no less than the DIP Obligations; and

         (c)    It shall be an Event of Default under the DIP Order, if any, if the Debtors shall
fail to secure the entry of orders of the Bankruptcy Court, in form and substance acceptable to
Lender:

               (i)      approving a disclosure statement for the Debtors’ joint plan of
                        reorganization, on or before November 20, 2018; and

               (ii)     confirming a joint plan of reorganization of the Debtors, on or before
                        December 31, 2018.

SECTION 3. GENERAL PROVISIONS APPLICABLE TO DIP LOAN.

       3.1    No Note. This Agreement, the DIP Loan Documents, and the DIP Order fully
evidence and memorialize the DIP Obligations, and no other instrument is required to evidence
such DIP Obligations.

       3.2     Interest Rates.


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        (a)      Interest Rate. Subject to Section 3.2.(b) hereof, the DIP Loan shall bear interest at
a rate of eight (8three (3%) percent per annum.

       (b)     Default Rate. Upon the occurrence and during the continuance of a Default, and
provided that Lender shall have provided a Notice of Default as provided in Section 6.2 and any
applicable cure period has expired, the DIP Loan and all other amounts unpaid and outstanding
under this Agreement shall bear interest at a rate equal to twelve (12%) percent per annum (the
“Default Rate”).

       (c)     Computation of Interest. Interest on the Advances shall be computed on the basis
of a year of 365 days and the actual days elapsed (including the first day but excluding the last
day) occurring in the period for which such interest is payable, unless such calculation would
exceed the Highest Lawful Rate, in which case interest shall be calculated on the per annum.

       3.3     Collateral.

        (a)      Grant of Security Interest. The Debtors each hereby grant to Lender a security
interest in all of their respective Collateral as security for the full and prompt payment in cash
and performance of the DIP Obligations.

        (b)      Perfection; Duty of Care. Until all the DIP Obligations have been paid and
performed in full, the Debtors shall take all actions reasonably requested by Lender or otherwise
required to perfect, maintain and protect Lender’s security interest in the Collateral, including
delivering to Lender all Collateral in which Lender’s security interest may be perfected by
possession together with such endorsements as Lender may request. The Debtors shall pay when
due all Tax assessments and other charges imposed upon or with respect to the Collateral or any
part thereof, first arising after the Petition Date, unless such assessments and charges are subject
to a good faith contest adequately reserved for by the Debtors. If the Debtors shall fail to pay
such amounts, upon prior written notice to the Debtors, Lender may do so and add the amount of
such payment to the principal owed under the DIP Loan. Upon prior written notice to the
Debtors, Lender may discharge any Lien that is not a Permitted Lien, pay for any insurance, or
take any other action the Debtors are required to take pursuant to this Agreement but have not
taken, and add the amount of such payment to the principal owed under the DIP Loan.

SECTION 4. AFFIRMATIVE COVENANTS.

       The Debtors hereby agree that, so long as any portion of the DIP Loan or other DIP
Obligation remains outstanding and unpaid or any other amount is owing to Lender hereunder,
the Debtors shall:

       4.1     Payment of Post-Petition Obligations. Pay, discharge or otherwise satisfy all
post-Petition Date obligations and liabilities as required pursuant to the Bankruptcy Code or by
order of the Court.

       4.2     Insurance.

        (a)     Maintain with financially sound and reputable insurance companies insurance on
all Collateral in at least such amounts and with only such deductibles as are usually maintained,


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and against at least such risks as are usually insured against in the same general area, by
companies engaged in the same or a similar business; and furnish to Lender, at their request, full
information as to the insurance carried.

        (b)    Lender shall be named as an additional insured and as its interests may appear on
all insurance maintained by the Debtors pursuant to Section 4.2(a) hereof.

        4.3    Books and Records. Keep proper books of record and account in which complete
and correct entries are made of all dealings and transactions in relation to the Debtors’ business
and activities and which permit financial statements to be prepared in conformity with GAAP
and all applicable Laws.

        4.4    Cash Accounts. Deposit and maintain all proceeds of the DIP Loan in only such
accounts permitted by the Court’s order approving the Debtors’ use after the Petition Date of its
existing bank accounts and cash management system.

        4.5    Visits and Inspections. Promptly permit representatives of Lender, upon prior
written notice to the Debtors, from time to time during normal business hours to (a) visit and
inspect any Property of the Debtors as often as Lender shall reasonably deem advisable, (b) make
such inspections of, abstracts from and copies of the Debtors’ books and records as Lender shall
deem advisable, and (c) discuss with the Debtors’ members, officers and the auditors of the
Debtors, the Debtors’ business, operations, assets, liabilities, financial positions, results of
operations and business prospects as often as Lender shall deem advisable.

        4.6     Use of Proceeds. Use the proceeds of the DIP Loan solely in accordance with the
Budget (as applicable) subject to the Permitted Variance and upon the terms and conditions set
forth in this Agreement, including without limitation Section 2.3 hereof.

       4.7    Compliance with Law. Comply in all material respects with all requirements of
law applicable to the Property (including but not limited to requirements relating to the
environment or hazardous or toxic substances) and the Bankruptcy Code.

SECTION 5. NEGATIVE COVENANTS.

       The Debtors hereby agree that each shall not, directly or indirectly so long as the DIP
Loan or any of the DIP Obligations remain outstanding and unpaid, or any other amount is
owing to Lender hereunder (it being understood that each of the permitted exceptions to each of
the covenants in this Section 5 is in addition to, and not overlapping with, any other of such
permitted exceptions except to the extent expressly provided):

       5.1     Debt. Create, incur, assume or suffer to exist any debt, except:

       (a)     Debt in existence on the date of this Agreement;

       (b)     the DIP Loan and this Agreement; and




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       (c)    Debt incurred by the Debtors within the Budget, subject to the Permitted Weekly
Variance, in the ordinary course of business in the form of accounts payable and accrued
expenses.

       5.2     Limitation on Liens. Create, incur, assume or suffer to exist any Lien upon any of
its property, assets, income or profits, whether now owned or hereafter acquired, except
Permitted Liens and the Carve Out.

        5.3    Use of Proceeds. Use the proceeds of the DIP Loan for any purpose not set forth
in each respective Budget or in Section 2.3 hereof, subject to the Permitted Weekly Variance.

        5.4    DIP Financing. Incur, or apply to the Court for authority to incur, or suffer to
exist, any (i) indebtedness having the priority afforded by Section 364(c) or (d) of the
Bankruptcy Code (including any Superpriority Claims) other than the financing provided for
under this Agreement and the other DIP Loan Documents or (ii) obligation to make adequate
protection payments, or otherwise provide adequate protection, other than as contemplated by the
DIP Order or in the Budget, or as may be required by order of the Court in connection with the
provision of adequate protection to holders of Permitted Liens whose collateral is sold or
otherwise disposed of or as to which Lender consents.

        5.5     Alteration of Rights of Lender. Limit, affect or modify, or apply to the Court to
limit, affect or modify, any of Lender’s rights with respect to the DIP Obligations, including
rights with respect to the Collateral and the priority thereof, except with the prior written consent
of Lender.

        5.6     Chapter 11 Claims. Except as permitted under the DIP Order, apply to the Court
for the authority to incur, create, assume, suffer or permit any claim, Lien or encumbrance (other
than Permitted Liens and the Carve Out) against the Debtors, or any of their assets in the Chapter
11 Case to be pari passu with, or senior to, the Liens and claims of Lender granted and arising
under the DIP Loan Documents.

      5.7     Superpriority Administrative Expense. Create or permit to exist any Superpriority
Claims (other than with respect to this Agreement or the DIP Order and other than the Carve
Out).

       5.8     Alterations. Undertake any alterations or modifications to the Property without
Lender’s prior written consent.

       5.9     Transfers. Transfer, directly or indirectly, any of its right, title or interest in, to or
under any of the Collateral without the Lender’s prior written consent.

SECTION 6. DEFAULT.

        6.1     Default. In addition to the Events of Default under the DIP Order, the following
shall constitute a Default:

      (a)     The Debtors shall fail to pay any principal or interest of the DIP Loan or any other
DIP Obligation (including any fees or reimbursable amounts) when any such amount becomes


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due in accordance with the terms hereof, which failure continues for a period of five (5) Business
Days after notice thereof from Lender; or

       (b)    The Debtors shall default in the observance or performance of any covenant,
agreement, obligation or restriction set forth in this Agreement or any other DIP Loan Document,
and such Default shall continue for a period of ten (10) Business Days after notice thereof from
Lender; or

       (c)     The Court shall enter an order with respect to the Debtors dismissing the Chapter
11 Case or converting it to a case under chapter 7 of the Bankruptcy Code, or, without the prior
written consent of Lender (i) appointing a trustee in the Chapter 11 Case or (ii) appointing a
responsible officer or an examiner with enlarged powers relating to the operation of the Debtors’
business (beyond those set forth in Section 1106(a)(3) or (4)) under Bankruptcy Code Section
1106(b); or

       (d)     The Debtor shall fail to comply with the terms of the DIP Order; or

       (e)     There occurs any Material Adverse Change, including without limitation, any
impairment to the value of Collateral which Lender, in good faith, deems will threaten timely
payment in full of the DIP Loan; or

       (f)    The Court grants any superpriority administrative expense claim or Lien or enters
any order granting relief from the automatic stay (if not in favor of Lender) on any assets of the
Debtors which have an aggregate value in excess of $250,000, except with the express written
consent of Lender.

        (g)     The Debtors shall assume or reject any unexpired lease or executory contract
relating to the Property without the prior written consent of the Lender.

        6.2     Notice of Default and Certain Remedies. If any Default shall occur, Lender may
provide written notice (a “Notice of Default”) to the Debtors and counsel for the official
committee of unsecured creditors, if any, and the U.S. Trustee of such Default. If a Default shall
have occurred and Lender shall have provided a Notice of Default, then, upon expiration of any
applicable cure period, so long as any such Default shall be continuing, any of the actions set
forth in the next sentence may be taken upon written notice by Lender to the Debtors, the U.S.
Trustee, and to the official committee of unsecured creditors of the Debtors, if any. Lender may
(A) without further order of the Court, declare the DIP Loan Commitment reduced to zero
whereupon the DIP Loan Commitment and all obligations of Lender relating thereto shall be
immediately terminated, (B) without further order of the Court, declare all or a portion of the
DIP Loan (with accrued interest thereon) and all other amounts owing under this Agreement to
be due and payable forthwith, whereupon the same shall immediately become due and payable,
without further notice, demand, presentment, notice of dishonor, notice of acceleration, notice of
intent to accelerate, protest, or other formalities of any kind, all of which are hereby expressly
waived by the Debtors, (C) foreclose or otherwise enforce any Lien granted to Lender for the
benefit of itself to secure payment and performance of the DIP Obligations in accordance with
the terms of the DIP Loan Documents, and (D) exercise all other rights and remedies available at
law or in equity. Except as expressly provided above in this Section 6, presentment, notice,


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notice of dishonor, notice of acceleration, notice of intent to accelerate, demand, protest and all
other notices of any kind are hereby expressly waived.

SECTION 7. MISCELLANEOUS.

      7.1     Amendments and Waivers. No DIP Loan Document nor any terms thereof may
be amended, supplemented or modified except in writing signed by Lender and Debtor.

        7.2    Notices. All notices, requests and demands to or upon the respective parties
hereto to be effective shall be in writing, and, unless otherwise expressly provided herein, shall
be deemed to have been duly given or made when delivered by hand, or three Business Days
after being deposited in the mail, postage prepaid, or one Business Day after being entrusted to a
reputable commercial overnight delivery service, or, in the case of electronic mail notice, when
sent, addressed as follows in the case of the Debtors and Lender or to such other address as may
be hereafter notified by such respective parties hereto:

The Debtors:

                 1141 Realty Owner, LLC
                 Flatironhotel Operations, LLC
                 1141 Broadway
                 New York, New York 10001
                 Attention: Chief Restructuring Officer

With a copy to

                 Klestadt Winters Jureller
                 Southard & Stevens, LLP
                 292 Madison Avenue, 17th Fl.
                 New York, NY 10017
                 Attn: Tracy L. Klestadt
                       Joseph Corneau

Lender:

                 Premier Flatiron, LLC
                 c/o Mermel Associates PLLC
                 One Hollow Lane, Suite 303
                 Lake Success, New York 11042
                 Attn: Uzi Ben Abraham

With a copy to

                 SilvermanAcampora LLP
                 100 Jericho Quadrangle, Suite 300
                 Jericho, New York 11753
                 Attn: Kenneth P. Silverman
                       Brian Powers

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        7.3    No Waiver; Cumulative Remedies. No failure to exercise and no delay in
exercising, on the part of Lender, any right, remedy, power or privilege hereunder shall operate
as a waiver thereof; nor shall any single or partial exercise of any right, remedy, power or
privilege hereunder preclude any other or further exercise thereof or the exercise of any other
right, remedy, power or privilege. The rights, remedies, powers and privileges herein provided
are cumulative and not exclusive of any rights, remedies, powers and privileges provided by
Law.

        7.4   Survival of Representations and Warranties. All representations and warranties
made hereunder and in any document, certificate or statement delivered pursuant hereto or in
connection herewith shall survive the execution and delivery of this Agreement and the making
of the DIP Loan.

       7.5      Counterparts. This Agreement may be executed by one or more of the parties to
this Agreement on any number of separate counterparts and all of said counterparts taken
together shall be deemed to constitute one and the same instrument.

       7.6     Additional Grant of Lien. All DIP Obligations, contingent or absolute (including,
without limitation, the principal thereof, interest thereon, and any costs and expenses owing in
connection therewith) which may now or from time to time hereafter be owing by the Debtors to
Lender under any of the DIP Loan Documents shall be secured as set forth in the DIP Order.

       IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
executed and delivered by their proper and duly authorized officers as of the day and year first
above written.

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DEBTORS

1141 REALTY OWNER, LLC,


____________________________________
By:______________________
Title:_____________________

FLATIRONHOTEL OPERATIONS, LLC,


____________________________________
By:______________________
Title:_____________________


LENDER

PREMIER FLATIRON LLC,


____________________________________
By:______________________
Title:_____________________




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                                   EXHIBIT A

                                    BUDGET

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